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 Adrienne Hood,
       Plaintiff,

 v.                                                  Case Number 2:17-cv-471
                                                     Judge Sargus, Jr.
 Jason S. Bare., et al.,
       Defendants.

                                Jury Trial Day 4
                            Thursday, April 21, 2022
                       before Judge Edmund A. Sargus, Jr.

 For Plaintiff: Sean Walton and John Bey
 For Defendants: Westley Phillips and Alana Tanoury
 Court Reporter: Crystal Hatchett and Allison Kimmel
 Courtroom Deputy: Sherry Nichols

        9:00 a.m. Jury Trial - day 4 commenced
        12:00 p.m. Lunch break.
        4:30 p.m. Court adjourns until 9:00 a.m., April 25, 2022.

 Cross exam of Officer Bare by plaintiff (attorney Bey)
 Re-direct by defendant (attorney Phillips)
 Re-cross by plaintiff (attorney Bey)
 Officer Bare testified to exhibits: P Video Clip 14, P36, P37, P Video Clip 7.

 Direct exam of Gregory Sheppard by defendant (attorney Tanoury)
 Cross exam by plaintiff (attorney Bey)
 Re-direct by defendant (attorney Tanoury)
 Re-cross by plaintiff (attorney Bey)
 Mr. Sheppard testified to exhibits: J46, P17.01, P.24

 Direct exam of Expert Witness Matthew Noedell by defendant (attorney Tanoury)
 Cross exam by plaintiff (attorney Bey)
 Re-direct by defendant (attorney Tanoury)
 Re-cross by plaintiff (attorney Bey)
 Expert Witness Noedell testified to exhibits: JE42, JE46, D25, JE56, J43, D22, D26, D23, D21,
 Mr. Noedell’s report, J24, P47, P23.36, P23.66, J25

 *Jury views vehicle - located on USDC loading dock

 2:50 p.m. Jury excused for the day

 Defendants’ motion Court for directive verdict; motion denied
